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                                         No.8CV-1360                        Dltl£.: f· clS -O~
                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                    ZAYN AL ABIDIN MUHAMMAD HUSA YN,
             PRISONER, Guantanamo Bay Naval Station, Guantanamo Bay, Cuba,
                                               Petitioner/Plaintiff,

                                            v.

                            ROBERT M. GATES,
           SECRETARY OF DEFENSE OF THE UNITED STATES OF AMERICA,
                                                             Respondent/Defendant.

                AMENDED PETITION FOR WRIT OF HABEAS CORPUS


Joseph Margulies                                 George Brent Mickum IV
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                                  Attorneys for Petitioner

August 25, 2008




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        1.      Petitioner,   Zayn      Al    Abidin   Muhammad     Husayn   ("Abu   Zubaydah")

("Petitioner"), seeks the Great Writ.

       2.        All of the information that appears in this Petition comes from sources in the

public domain or information derived from Petitioner that has been cleared for public release.

Indeed, much of the information appeared in Petitioner's Amended Petition for Relief under the

Detainee Treatment Act of 2005, and, in the Alternative, for Writ of Habeas Corpus that was

cleared by the government for public release and has been widely disseminated. The public

sources that appear herein include newspapers, magazines, books, television and radio

broadcasts, online publications, written reports and memoranda, and, in a very limited number of

instances, anecdotal reports. l No information contained in the petition is based on counsels'

access to or review of any classified documents: indeed, the Government has refused to produce

any classified information. 2 An index of the documents and sources relied on is attached hereto

as Exhibit 1.

        3.       In an attempt to justify Petitioner's unlawful detention and torture, President

Bush and other high level officials within his Administration have publicly proclaimed that

Petitioner was one of al Qaeda's top three operatives and that, when subjected to "enhanced

interrogation techniques," he revealed vital information to the Central Intelligence Agency that

saved countless American lives and resulted in the capture of Khalid Sheikh Mohammed, the




1 Citations to the public sources are set forth in footnotes.


2 Although two of Petitioner's counsel, Joseph Margulies and George Brent Mickum IV,
received the requisite security clearance - Top Secret-Sensitive Compartmentalized Information
("TS-SCI") - to review all classified information in the case nearly nine months ago, the
Government has thus far refused to disclose any classified information.


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alleged mastennind of the September 11 tragedy.3 These allegations are false and were knO'Ml

to be false when pronounced by the Administration. 4 During the past six years of Petitioner's

imprisonment, the Administration has failed to provide even the slimmest substantiation for their

claims. The Bush Administration is unable to substantiate its assertions because they have no

basis.

         4.       Petitioner was never a member or supporter of Taliban or al Qaeda forces.

Petitioner never committed any belligerent act or supported any hostilities against the United

States or its coalition allies. Petitioner has never taken up arms against the United States or its

coalition allies. S




3 See,  e.g., President Bush, Remarks by the President at Thaddeus McCotter for Congress
Dinner, October 14, 2002. http://www.whitehouse.gov/newslreleasesl2002l10/20021 014-3.html
(describing Petitioner has "one of the top three leaders"); President Bush, Remarks by the
President at Connecticut Republican Committee Luncheon,                       Apr. 9, 2002.
http://www. whitehouse.gov/news!releasesl2002l04/20020409-8.html (describing Petitioner as
"one of the top operatives plotting and planning death and destruction on the United States,");
President Bush, Remarks by the President in Address to the Nation, June 6, 2002.
http://www. whitehouse.gov!news/releasesl2002l06120020606-8.html (describing Petitioner as
"al Qaeda's chief of operations"). Yet the military recently described Khalid Sheikh Mohammed
as the number three man in at Qaeda. See, e.g., Ed Pilkington, '1 was responsible for 9111, from
A to Z' - a confession from Guantanamo Bay, The Guardian, March 15,2007. But KSM is only
one of the many to earn this title. So far, Hamza Rabia, Abu Faraj al-Libbi, and Saif al-Adel
have also been called al Qaeda's "number three." See, e.g., Steve Benen, Another Al Qaeda
Number       3,    Guest    Posting,    The     Washington      Monthly,     Jan.   31,    2008,
http://www.washingtonmonthly.comlarchives/individua1l2008_01/013025. php (questioning how
many "number three" men one terrorist organization could have).

4 See,  e.g., Ron Suskind, The One Percent Doctrine: Deep Inside America's Pursuit of Its
Enemies Since 9/11, at 10 1 (Simon & Schuster 2006) ('''Around the room a lot of people just
rolled their eyes when we heard comments from the White House. I mean, Bush and Cheney
knew what we knew about Zubaydah . . . ' said one top CIA official, who attended the 5 p.m.
meeting where the issue of Zubaydah came up. 'The thinking was, why the hell did the President
have to put us in a box: like this?"'),

sId.


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        5.        In 1992, Petitioner sustained a serious head injury.6 He was fighting on the front

lines against Afghan communists and was injured by an exploding mortar shell. For more than a

year, he could not speak; to this day, he still suffers from a severe memory loss. Although

Petitioner received treatment for his injury, two pieces of shrapnel remain lodged in his head. 7

As a result of this injury, Petitioner could not operate weaponry.8

        6.        On or about March 28, 2002, Petitioner was in a guest house in Pakistan. The

house was attacked by combined Pakistani and United States

                                         Though neither Petitioner nor any of the other occupants

of the home were armed, Petitioner was shot in the groin, thigh and stomach. 9

        7.        Thereafter, Petitioner became a prisoner in a secret program initiated by the CIA

after September 11, 2001, in which alleged suspects were jailed and systematically tortured at

secret prisons outside the United States known as "black sites.,,10




6 Suskind, supra note 4, at 95; Dan Eggen and Walter Pincus, FBI, CIA Debate Significance of
Terror Suspect: Agencies Also Disagree On Interrogation Methods, Wash. Post., Dec. 18,2007,
at A!.

7 Unclassified handwritten notes of George Brent Mickum dated Feb. 22, 2008; see a/so
Unclassified Verbatim Transcript of Combatant Status Review Tribunal Hearing for ISN 10016,
Mar. 27, 2007, at 22, http://www.defenselink.mil/newsltranscript_ISNI0016.pdf. ("... I still
have shrapnel in my head").

8 [d. at 19-20.


9 Brian Ross, CIA- Abu Zubaydah: Interview with John Kirialwu: Transcript, ABC News, Dec.
10,                                                                                     2007,
http://abcnews.go.comlimages/Blotterlbrianross_kiriakou_transcriptl_biotter07121 O.pdf;   1.1.
Green, Former CIA Officer: Waterboarding is Wrong, but it Worked, WTOPnews.com, Mar. 20,
2008, http://www.wtop.coml?sid= 1368866&nid=251.

10 Dan Froomkin, Bush's Exhibit Afar Torture. Wash. Post, Dec. 18,2007, see also Dana Priest,
CIA Holds Terrors Suspects in Secret Prisons, Wash. Post, Nov. 2,2005, at AI.


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       8.       Specifically, following his seizure, Petitioner was held incommunicado in the

unlawful custody of the CIA at black sites around the world, including

                                                                            During his captivity,

Petitioner has been subjected to various fonns of torture over extended periods of time,

including, but not limited to, waterboarding,




                                                         The Government admits Petitioner was

waterboarded. 13 The Government also admits it videotaped hundreds of hours of Petitioner's

torture and interrogations, and later destroyed the tapes. 14




13 Director's Statement on the Taping of Early Detainee Interrogations: Statement to Employees
by Director of the Central Intelligence Agency, General Mike Hayden on the Taping of Early
Detainee Interrogations, Dec. 6, 2007. https:llwww.cia.gov/news-infonnationlpress-releases­
statements/press-release-archive-2007/taping-of-early-detainee-interrogations.html.

14 Scott Shane and Mark Mazetti, CIA Tapes Lived and Died 10 Save Image, N.Y. Times, Dec.
30,2007, at Al.


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       9.       [n addition to his torture, Petitioner has been subjected to cruel, inhumane, and

degrading treatment, as well as physical and psychological interrogation techniques specifically

designed to isolate him from the world, reduce him to a state of learned helplessness, and render

him wholly dependent on his captors. IS According to testimony by former Attorney General

John Ashcroft before the House Judiciary Committee on July 17, 2008, Petitioner was subjected

to these techniques well before the Department of Justice was commissioned to write legal

memorandums to provide justification and approval for this treatment. 16 The now infamous

torture memoranda were not issued until August 2002.

       10.      After more than four years of torture and incommunicado detention, on

September 6, 2006, Petitioner was transferred from the last of his secret prison cells to the U.S.

Naval Base at Guantanamo Bay,17 where he remains today. Petitioner has now been imprisoned

without charge for nearly six and a half years.




IS Jane Mayer, The Black Sites: A rare look inside C.LA. 's secret interrogation program, The
New Yorker, Aug. 13,2007; Katherine Eban, Rorschach and Awe, Vanity Fair, July 17,2007.

16 Alex Koppelman, Ashcroft suggests CIA sought legal approval after torture began, Salon, July
17, 2008 ("The first memo - often called the Bybee memo - was dated August 1, 2002 and was
authored by fonner Deputy Assistant Attorney General John Yoo ... Rep. Jerrold Nadler, D­
N. Y., pointed out that the abuse of Zubaydah had reportedly begun weeks, if not months, earlier.
'Did you offer legal approval of interrogation methods used at that time . . . prior to August
2002?' •I have no recollection of doing that at all,' Ashcroft responded. He added that he did not
remember anyone else at the Justice Department doing so either. He said later in the hearing that
Zubaydah's interrogation was done without the opinion that was issued on the first of August.''');
see also fd. ("It appears that in May, June, and July-in other words, months before the infamous
torture memos provided legal cover-the CIA has already begun to treat him in ways that were
deeply troubling."),

17 See President Discusses Creation ofMilitary Commissions to Try Suspected Terrorists, Office
of           the          Press           Secretary,          Sept.         6,          2006.
http://www.whitehouse.gov/newslreleasesl2006/09/20060906-3.html ("I am announcing today
that Khalid Sheikh Mohammad, Abu Zubaydah, Ramzi bin al-Shibh, and 11 other terrorists in
CIA custody have been transferred to the United States Naval Base at Guantanamo Bay.").


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                                                   I.
                                          JURISDICTION

        11.      Petitioner invokes this Court's jurisdiction under 28 U.S.C. §§ 2241 and 2242.

He also relies upon 28 U.S.C. §§ 1331, 1651, 2201, and 2202; 5 U.S.C. § 702; as well as the

Suspension Clause and the Fifth, Sixth, and Eighth Amendments to the United States

Constitution; the International Covenant on Civil and Political Rights; the American Declaration

on the Rights and Duties of Man; the Convention Against Torture; other international treaties to

which the U.S. is a signatory; and customary international law. Because he seeks declaratory

relief, Petitioner also relies on Fed. R. Civ. P. 57.

        12.      This Court is empowered under 28 U.S.C. § 2241 and the Suspension Clause of

the United States Constitution to grant the Writ of Habeas Corpus and to entertain this Petition.

This Court is further empowered to declare the rights and other legal relations of the parties

herein by 28 U.S.C. § 2201, and to effectuate and enforce declaratory relief by all necessary and

proper means by 28 U.S.C. § 2202, as this case involves an actual controversy within the Court's

jurisdictions.

                                                II.
                                              PARTIES

        13.      On information and belief, Petitioner was born in Riyadh, Saudi Arabia, on

March 12, 1911. Presently, Petitioner is incarcerated and held in Respondent's unlawful custody

at Camp vn, Guantanamo.

        14.      Robert M. Gates ("Respondent") is the Secretary of the United States

Department of Defense. Respondent Gates has been charged with maintaining the custody and

control of the Petitioner. He is sued in his official capacity.




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                                                 III.
                                    STATEMENT OF FACTS

       15.       Petitioner is not, and never has been, an enemy alien, lawful or unlawful

belligerent, or unlawful or enemy combatant of any kind.

       16.       Petitioner is not, and never has been, an "enemy combatant" who was "part of or

supporting forces hostile to the United States or coalition partners in Afghanistan!' Hamdi v.

Rumsfeld, 542 U.S. 507, 516 (2004). He was not seized on a battlefield. He was never engaged

in an armed conflict against the United States or its coalition allies, either in Afghanistan or

anywhere else.

       17.       At the time of his detention, Petitioner was not and never had been a member of

either the Taliban or al Qaeda He did not cause or attempt to cause any harm to American

personnel or property at any time prior to his illegal detention. Petitioner did not have a weapon

when he was taken into illegal custody. Petitioner was not in Afghanistan at the time of his

detention, but was taken into custody in Pakistan after he was wrongfully attacked, shot, and

severely injured and nearly killed by U.S. forces.

       18.       From the time of his initial detention in Pakistan to the present, Petitioner has not

been afforded any legal process that would satisfy even the most basic notions of due process

and procedural fairness, let alone the requirements imposed by the Great Writ of habeas corpus

or the Due Process Clause of the Fifth Amendment to the United States Constitution. Had

Petitioner received such procedures, Respondent could not have proved by any standard that

Petitioner either was, or should be classified as, an "enemy combatant."

       A.        THE ABSENCE OF LAWFUL AUTHORITY FOR PETITIONER'S
                 PROLONGED DETENTION.

       19.       In the wake of the September 11, 2001 attacks on the United States, a Joint

Resolution of Congress authorized President Bush to use force against the "nations,

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organizations, or persons" that "planned, authorized, committed. or aided the terrorist attacks on

September 11,2001, or [that] harbored such organizations or persons." Authorization for Use of

Military Force, Pub. Law 107-40, 115 Stat. 224 (Sept. 18, 20ot) ("AUMF"). Petitioner did not

participate in an armed conflict against the United States, nor was he arrested dwing the course

of an armed conflict. He did not plan, authorize, commit, or aid any attacks on the United States,

nor did he "harbor" persons who did. Petitioner is not and was not a member of al Qaeda. He is

not properly detained pursuant to the AUMF.

       20.      On November 13, 2001, President Bush issued a Military Order authorizing the

United States military to detain indefinitely "any individual who is not a United States citizen

with respect to whom [the President] determine[s] from time to time in writing" that there is

"reason to believe that such individual, at the relevant times":

               i.      is or was a member of the organization known as al Qaeda;

               ii.     has engaged in, aided or abetted, or conspired to commit, acts of
                       international terrorism, or acts in preparation therefore, that have caused,
                       threaten to cause, or have as their aim to cause, injury to or adverse effects
                       on the United States, its citizens, national security, foreign policy, or
                       economy; or

               iii.    has knowingly harbored one or more individuals described in
                       subparagraphs (i) and (ii).

Military Order, Detention, Treatment, and Trial of Certain Non-Citizens in the War against

Terrorism, 66 Fed. Reg. 57,833 (Nov. 13, 2001) ("Military Order").           Pursuant to the plain

language of the Military Order, President Bush must make in writing the determination

contemplated by the Military Order. The Military Order was neither authorized nor directed by

Congress and is beyond the scope of the AUMF.

       21.      On information and belief, President Bush never certified or determined in any

manner, whether in writing or otherwise, that Petitioner is subject to the Executive Order.


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        22.        Petitioner is not properly subject to detention pursuant to the Executive Order

issued by President Bush.

        23.        Petitioner has not been, and is not being, detained lawfully either pursuant to the

AUMF, the Executive Order, President Bush's authority as Commander-in-Chief andlor under

the laws and usages of war.

         B.        PETITIONER'S SEIZURE IN PAKISTAN AND TRANSFER TO THE
                   CUSTODY OF THE CIA

         24.       Petitioner was captured March 28, 2002, in Faisalbad, Pakistan. 18     He suffered

three gunshot wounds after being attacked by Pakistani and American forces during his capture

and arrest. 19

         25.       The Government concedes that Petitioner was grievously injured, but contends

that gunfire was exchanged during the raid. 2o Petitioner, however, denies that he or anyone with

him in the guest house had weapons: "When our house was raided, we had no guns, so all we

could do was fight with our hands. One of us had a knife, and he got killed. So, the statement

that gunfire was exchanged was incorrect. The gunfire only came from the soldiers who attacked

our house. ,,2 I



18 United States' 4'Disappeared" CIA Long-term "Ghost Detainees", Human Rights Watch,
http://www.hrw.orglbackgrounder/usaluslO04/index.htm; Eggen and Pincus, supra note 6; John
F. Burns, A Nation Challenged: The Fugitives; In Pakistan's Interior, A Troubling Victory In
Huntfor Al Qaeda, N.Y. Times, Apr. 14,2002.

19 Johnston, supra note 12; Pakistan: Musharraf's Risky Gambit, Newsweek, Oct. 29, 2007
(noting that "Pakistan's own Inter-Services Intelligence directorate was kept largely in the dark
about the operation").

2()Unclassified Summary of Evidence for Combatant Status Review Tribunal, Mar. 19, 2007.
http://www.defenselink.miUnewsIISN 10016. pdf.

2\Unclassifted Verbatim Transcript of Combatant Status Review Tribunal Hearing for ISN
10016; Mar. 27, 2007. http://www.defenselink.mil/news/transcript_ISNl0016.pdf.


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       26.        Former CIA agent John Kiriakou was a co-leader of the team of American and

Pakistani forces that shot and took custody of Petitioner. During a television interview with

ABC News, Kivakou described Petitioner as "a very friendly guy," who wrote poetry and was

keen to talk about current events and compare and contrast the differences and similarities

between Islam and Christianity.22

       27.        Unclassified sources in the United Kingdom and elsewhere say that prior to

Petitioner's arrest, Petitioner was a well-known figure who helped facilitate travel to and from

Afghanistan after the Taliban became the de facto government in that country. Travelers from

the United Kingdom who were familiar with Petitioner say he acted much like a travel agent,

confirming accounts of FBI agents. They described him as gregarious and friendly.23 Witnesses

familiar with Petitioner and the CIA's allegations confirm that Petitioner was not a member of or

associated with al Qaeda, as does Petitioner.

       28.        CIA agent Kiriakou stated that Petitioner "was shot in the thigh, the groin, and

the stomach with an AK-47." In the same interview, Kiriakou stated: "(petitioner] was almost

killed. And later that night one of the doctors, the Pakistani doctor who was treating him, told

me that he had never seen wounds so severe where the patient had lived." "One of the things

that sticks in my mind," Kiriakou later recalled, "was how much blood he lost. There was blood

everywhere. It was all over him. It was allover the bed. It pooled underneath the bed."

Kiriakou claims to have been the first person to speak to Petitioner when he came out of his

coma. 24



22 Ross,   supra note 9.

23 Suskind,   supra note 4, at 84.
24 Ross,   supra note 9.


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       29.      On infonnation and belief,
                                          s

       30.      On April 3, 2002, Donald Rumsfeld said the U.S. was "holding" Petitioner, who

was receiving medical care. 26



       C.      THE DEVELOPMENT OF THE CIA TORTURE PROGRAM BEGAN
               WITH THE ARREST OF PETITIONER

       31.      The CIA first implemented its secret detention and torture program after

Petitioner's arrest, largely in order to facilitate interrogations outside of what the U.S.

government had for years considered lawful boundaries. 28

       32.      To assist in Petitioner's interrogation, the CIA contracted with a group of retired

military psychologists who had undergone Survival, Evasion, Resistance, and Escape ("SERE")

training. 29 "The [SERE] program . . . was created at the end of the Korean War. It SUbjected

trainees to simulated torture techniques, including waterboarding ..., sleep deprivation, isolation,

and exposure to temperature extremes, enclosure in tiny spaces, bombardment with agonizing




26 Fate and Whereabouts Unknown: Detainees in the War on Terror, NYU School of Law:
Center    for     Human      Rights   and   Global   Justice,               Dec.      17,     2005.
http://www.chrgj.orgidocslWhereabouts%20Unknown%20Final.pdf.




28 Jane Mayer, The Dark Side (Doubleday, 2008).


29 Mayer, supra note 15.



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sounds at extremely damaging decibel levels, and religious and sexual humiliation. ,,30 Although

the SERE program was designed strictly for defense against regimes that would use these

unlawful techniques to extract false confessions, the CIA's new team used these techniques

against Petitioner, purportedly in order to obtain reliable information. 31

        33.         Petitioner was interrogated by a team "overseen by James Elmer Mitchell, a

consulting psychologist under contract to the CIA," and Bruce Jessen, a staff CIA psychologist.

Begituling in                  continuing for months, Mitchell and Jessen subjected Zubaydah to a

host of "extreme physical and psychological abuses."n          Mitchell and Jessen applied a theory

called "learned helplessness," which derived from experiments done in the 1970s by American

psychologist Martin Seligman, in which dogs were put in cages and repeatedly electrocuted in a

way that so degraded and disoriented them, they became utterly compliant and dependent on

their captors. 33

        34.         Together with other CIA interrogators, these psychologists implemented a

regime of techniques that one well-infonned fonner adviser to the American intelligence

community describes as "a Clockwork Orange" kind of approach. 34 "'They were very arrogant,




34 Mayer, supra note 15.



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and pro-torture,' a European official knowledgeable about the program said. 'They sought to

render the detainees vulnerable - to break down all of their senses. It takes a psychologist

trained in this to understand these rupturing experiences.' ..35

         35.      Neither Mitchell nor Jessen had any proof that their tactics would be effective in

gathering reliable or truthful intelligence. To the contrary, all intelligence derived from the

program was suspect because the interrogation training was based substantially on an article

written in 1957 by Albert Biderrnan entitled "Communist Attempts to Elicit False Confessions

From Air Force Prisoners of War:,36 Indeed, the SERE program itself was founded during the

Cold War in an effort to re-create and understand the mistreatment that had led to thirty-six

captured Americans to give stunningly false "confessions" during the Korean War. 37

         36.      Steve Kleinman, an Air Force Reserve Colonel and expert in human-intelligence

operations, found it astonishing that the CIA "chose two clinical psychologists who had no

intelligence background whatsoever, who had never conducted an interrogation, . . . to do

something that had never been proven in the real world.'.38



                                                 Speaking of Mitchell and Jessen, Steve Kleinman




36 Scott Shane,   China Inspired Interrogations at Guantanamo, N. Y. Times, July 2, 2008.

37Id (describing the methods employed as "brainwashing" techinques); see also Mayer. supra
note 28, at 158.
381d

39Id

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has stated: "I think they have caused more harm to American national security than they'll ever

understand...40




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       41.      A CIA officer who knows one of the individuals who interrogated and tortured

Khalid Sheikh Mohammed reports that the interrogator "has horrible nightmares. When you

cross over that line of darkness, it's hard to come back. You lose your soul. You can do your

best to justify it, but it's well outside the norm. You can't go to a dark place without it changing

you ... You are inflicting something really evil and horrible on somebody.'.47




47 Mayer, supra note 15.



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         42.      From the outset, serious concerns were raised about the CIA's developing

program. Indeed, the CIA's harsh treatment of Petitioner during his initial interrogation led to a

bitter dispute regarding acceptable interrogation methods between the FBI and the CIA.48

         43.      Following his arrest, Petitioner was initially interrogated by FBI agents •

                               Subsequently, however. CIA officials, who were being pressed for

infonnation by Respondent's predecessor and other officials within the Executive Branch, took

over responsibility for Petitioner's interrogation. so It was then that Mitchell and Jensen became

involved and Petitioner was tortured using the reverse-SERE program.

         44.      FBI agents on the scene protested the use of these tactics, but by then the CIA

had taken the lead in the interrogation, and FBI leaders decided not to intercede. sl

         45.      When the CIA's use of interrogation techniques was brought to the attention of

FBI headquarters, Director Robert S. Mueller III detennined that the FBI would not participate in

the interrogation: all FBI agents involved in the interrogation were instructed to leave the facility

immediately. 52




48 Johnston,   supra note 12; Eggen and Pincus, supra note 6.
49 Mayer, supra note 28, at 155.

so [d.

51 [d.


52 010 Report, supra note 46; see alsQ Walter Pincus, Pakistan Is Threatened. Intelligence Chief
Says, Wash Post, Feb. 6, 2008, at A3 (On February 5, 2008, in testimony before the Senate
Select Committee on Intelligence, FBI Director Robert S. Mueller was careful to distance the
FBI from CIA's unlawful actions and denied that the FBI had used waterboarding: "It has been
our policy not to use coercive techniques.").


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       46.       According to knowledgeable government officials. "[0Jne [FBI] agent was so

offended he threatened to arrest the CIA interrogators who were involved in the torture" of

PetitionerS]

       D.      PETITIONER BECAME A GHOST PRISONER AT CIA BLACK SITES
               AROUND THE WORLD

       47.      Over the next four years, Petitioner was jailed at various CIA prisons around the

world. "The CIA knew even less about running prisons than it did about hostile interrogations,

but it had to hold its prisoners somewhere beyond the reach of the American legal system, and

that was the impetus for the 'black sites program.'" 54




53 Michael Isikoff. Mark Hosenball and Michael Hirsh. Aggressive interrogation techniques of
terror suspects is under scrutiny, Newsweek, Dec 17. 2007. Some top CIA officials were,
likewise. outraged. For example. R. Scott Shumate, the chief operational psychologist for the
Counter-Terrorism Committee from 2001 to 2003, reportedly left the Agency in disagreement
about what he saw as misuse ofthe SERE techniques. Mayer, supra note 33, at 162.




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       52.      On information and belief, after the disclosure of the CIA's operation of black




       E.      PETITIONER WAS SUBJECTED TO WATERBOARDING BY THE CIA

       53.      John Kiriakou, the former CIA agent directly involved in the interrogation of

Petitioner, has said publicly that Petitioner was waterboarded and that waterboarding is torture. 67

       54.      In the wake of this admission, many former and present military and government

officials, including for example Mike McConnell, the current National Intelligence Director, and




67 Richard Esposito and Brian Ross, Coming in From the Cold: CIA Spy Calls Waterboarding
Necessary But Torture: Former Agent Says Enhanced Technique Was Used on Al Qaeda Chief
Abu Zubaydah, ABC News, Dec. 10, 2007.


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Tom Ridge, the fonner Homeland Security Secretary, have publicly acknowledged that

waterboarding is torture. 68

        55.     On February 5, 2008, in testimony before the Senate Select Committee on

Intelligence, CIA Director Michael V. Hayden publicly confinned for the first time that the CIA
                                                                                             69
and civilian contractors had used waterboarding on Petitioner and others in 2002 and 2003.        "A

senior intelligence official at the hearing . . . said that the CIA officers and contractors who

conducted interrogations involving waterboarding were told it was legal at the time, but added

that 'the legal landscape has changed.",70

        56.      Until 2002, when the Bush Administration secretly approved the use of

waterboarding, it was classified as a fonn of torture and treated as a serious criminal offense.

The United States prosecuted Japanese military officials who waterboarded American soldiers

for War Crimes following the Second World War and prosecuted American soldiers in the

Vietnam War for waterboarding captives suspected of being affiliated with the Viet Cong. 71

        57.      Malcolm Wrightson Nance, a counterterrorism specialist who taught at the

Navy's Survival, Evasion, Resistance and Escape (SERE) School in California, was subjected to

waterboarding as part of his military training. He testified before a House oversight hearing on

torture and enhanced interrogation techniques on November 8, 2007.             He testified that

waterboarding was clearly torture, and that such a method was never intended for use by U.S.

interrogators because it is a relic of abusive totalitarian governments. In his testimony, Nance

68 See. e.g., Goodman, supra note 33.


69 Pincus, supra note 52.




71 Walter Pincus, Waterboarding Historically Controversial; In 1947, the Us.   Called It a War
Crime: in 1968, It Reportedly Caused an investigation, Wash. Post, Oct. 5,2006, at A 17.


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likened waterboarding to drowning and said those who experience it will say or do anything to

make it stop, rendering the infonnation they give nearly useless. Recounting his experience

when he was waterboarded.,. he testified, "I didn't know what was happening until the water

entered my nose and throat . . . It then pushes down into the trachea and starts the process of

respiratory degradation. It is an overwhelming experience that induces horror and triggers frantic

survival instincts. As the event unfolded, I was fully conscious of what was happening: I was

being tortured." Nance testified that waterboarding is a long-standing form of torture used by

history's most brutal regimes, including Nazi Gennany, Imperial Japan, North Korea, Iraq, the

Soviet Union and the Khmer Rouge of Cambodia. 72 The United States is now on that list: on

February 6, 2008, the White House opined that waterboarding is legal. 73

       58.      Contrary to the Government's assertion that waterboarding is "simulated

drowning," waterboarding is more aptly described as "simulated death." As Nance has observed,

"It's not simulated anything. It's slow motion suffocation with enough time to contemplate the

inevitability of blackout and expiration-usually the person goes into hysterics on the board.',74

According to Nance, if a prisoner is subjected to 90 seconds of waterboarding, approximately 1.2

gallons of water are forced down his nose and throat as he is strapped to aboard.75 As a

prisoner's lungs fill with water, he is asphyxiated. Deprived of oxygen, a prisoner eventually




72 Josh White, Water boarding Is Torture, Says Ex-Navy Instructor, Wash. Post, Nov. 9, 2007, at
A4.

73 Dan Eggen, White House Defends CIA's Use of Waterboarding in Interrogations, Wash. Post,
February 7, 2008, at A3; Jon Ward, White House Says Waterboarding Not Torture, Wash.
Times, February 7, 2008.

74 Mayer, supra note 28, at 173.

75 White, supra note 72.

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begins to lose consciousness. At that point, the procedure is halted, the prisoner vomits out the

water from his lungs, is revived briefly, and the process is repeated. 76

           59.    Richard E. Mezo, who served in the Navy for six years, was waterboarded during

his training to become a Navy flight crew member. Mr. Mezo has written: "[a]5 someone who

has experienced waterboarding, albeit in a controlled setting, I know that the act is indeed

torture:.77 Describing the actual experience, Mezo writes:

                 Two men grabbed me at my sides. They put a pole of some kind
                 under my knees and bent me over backward. My head went down
                 lower that the rest of my body. The questions (What is your unit?
                 Where are you from?) were asked by one man. But we were not
                 supposed to talk. I remember that the blindfold was heavy and
                 completely covered my face. As the two men held me down, one
                 on each side, someone began pouring water onto the blindfold, and
                 suddenly I was drowning. The water streamed into my nose and
                 then into my mouth when [ gasped for breath. I couldn't stop it.
                 All I could do is breath water, and it was terrifying. I think I began
                 to lose consciousness. I felt my lungs begin to fill with burning
                 liquid. Pulling out my fin.Jiemails or even cutting off a finger
                 would have been preferable.

           60.    Professor Alfred McCoy, who has written extensively on torture, has described

waterboarding in his book A Question of Torture: CIA Interrogation, from the Cold War to the

War on Terror:

                 There are several methods for achieving water boarding's perverse
                 effect of drowning in open air: most frequently, by making the
                 victim lie prone and then constricting breathing with a wet cloth, a
                 technique favored by both the French Inquisition and the CIA; or,
                 alternatively, by forcing water directly and deeply into the lungs,
                 as French paratroopers did during the Algerian War.




76 Id.; see a/so Mayer, supra note 33, at 173.


77 Richard E. Mezo, Why It Was Called 'Water Torture " Wash. Post, Feb. 10,2008, at B7.

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     ld


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                After French soldiers used the technique on Henri Alleg during the
                Battle for Algiers in 1957, this journalist wrote a moving
                description that tumed the French people against both torture and
                the Algerian War. "1 tried," Alleg wrote, "by contracting my
                throat, to take in as little water as possible and to resist suffocation
                by keeping air in my lungs for as long as 1 could. But I couldn't
                hold on for more than a few moments. I had the impression of
                drowning, and a terrible agony, that of death itself, took possession
                of me."

                Let us think about the deeper meaning of Alleg's sparse words--"a
                terrible agony, that of death itself." As the water blocks air to the
                lungs, the human organism's powerful mammalian diving reflex
                kicks in, and the brain is wracked by horrifically painful panic
                signals--death, death, death. After a few endless minutes, the
                victim vomits out the water, the lungs suck air, and panic subsides.
                And then it happens again, and again, and again--each time
                inscribing the searing trauma of near death in human memory. 79

        61.       Richard Armitage, the Deputy Secretary of State and a combat veteran from

Vietnam, recently stated: "1 am ashamed we are even having this conversation. Of course,

waterboarding is torture ... 80

        62.       As stated by Presidential candidate John McCain, in an interview conducted by

the The New York Times: "All I can say is that it was used in the Spanish Inquisition, it was used

in Pol Pot's genocide in Cambodia, and there are reports that it is being used against Buddish

monks today [in Myanmar] ... It is not a complicated procedure. It is torture." 81




79 Alfred McCoy, The US. has a History ofUsing Torture, History News Network, Dec. 4, 2006.
http://lmn.us/articles/32497.html.

80 Goodman, supra note 33 (noting, by way of example, that Mike McConnell, the current
National Intelligence Directorate, has said, "If it was done to me, I would think it was torture,"
and that Tom Ridge, former Homeland Security Secretary, has publicly acknowledged that
waterboarding is torture, as well).

81 Mayer, supra note 28, at 171.



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       F.      PETITIONER WAS TORTURED BY THE CIA FOR YEARS

       63.                                                  FBI agents and analysts familiar with

Petitioner's treatment by the CIA



At least several of these alleged "enhanced" interrogation methods constitute torture and

inhuman and degrading treatment as provided in Article 3 of the European Convention on

Human Rights and the United Nations Convention against Torture. 8l

       64.      Contrary to President Bush's claim on September 6, 2006 that the "alternative set

of procedures" used by the CIA on Petitioner were "safe and lawful and necessary" and that "the

United States does not torture," the International Red Cross has concluded, in report made

secretly to the Bush administration, that the treatment of Petitioner was "categorically torture.,,84




82 Eggen and Pincus, supra note 6.


83 See note 57, supra.


84 Goodman, supra note 33.




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        69.      At one point in the early weeks of his interrogation, Petitioner was taken to a

hospital for medical treatment because he nearly died from infected wounds that became infected

as a result of Petitioner's torture and lack of medicaL treatment.9S

        70.      On infonnation and belief, US officials deliberately withheld painkillers from

Petitioner as an interrogation device. 96




95 Johnston, supra note 12.


96 United States'  "Disappeared" CIA Long-term "Ghost Detainees," Human Rights Watch,
http://www.hrw.orgibackgrounder/usaluslOO4/index.htm; Serrin Turner & Stephen J.
Schullhoffer, The Secrecy Problem in Terrorism Trials, Brennan Center for Justice, 55 (2005),
http://brennan.3cdn.netl6aOe5de414927df95eJbm6iy66c.pdf (stating, "For nearly forty-eight

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       72.




hours, around the clock, Zubaydah's condition went from complete relief when the [narcotic]
drip was on to utter agony when it was off."); A. John Radsan, Symposium on Reexamining the
Law ofWar: The Collision Between Common Article Three and The Central Intelligence Agency,
56 Cath. U.L. Rev. 959, 978 (2007); Charles H. Brower II, The Lives oj Animals, the Lives of
Prisoners, and the Revelations ofAbu Ghraib, 37 Vand. J. Transnat'l L. 1353, 1374 (2004); Eun
Young Choi, Verltas, Not Vengeance: An Examination of the Evidentiary Rules for Military
Commissions in the War Against Terrorism, 42 Harv. C.R.-C.L. L. Rev. 139, 168 (2007);
Impunity Jor         the   Architects    of Illegal     Policy,   Human        Rights Watch.
http;/lwww.hrw.org/reportsI200S/us040S/6.htm;Mayer.supranote28.atI42 ("According to
New York Times reporter James Risen, Tenet explained to Bush not long after Zubayda[h]'s
capture that intel1igence gathering was going poorly because Zubayda[h] had been sedated with
painkillers. Bush retorted, 'Who authorized putting him on pain medication?').




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        73.     Although Administration officials have stated that Petitioner's compliance was

obtained after a single torture session,101 that claim is false and was disseminated to spare the

Bush Administration from public humiliation. "[F]ormer and current officials disagreed that

{Petitioner's] cooperation came quickly under harsh interrogation or that it was the result of a

single waterboarding session. Instead, these officials said harsh tactics used on him at a secret

detention facility

These officials' accounts were confirmed by Petitioner at his CSRT hearing and in his

unclassified factual return. Although Petitioner's description of his torture is deleted from the

unclassified return, Government censors failed to delete references elsewhere in the return. At

page 23, the Tribunal President states: "In your statement, you mentioned months oftorture.,,103

        74.     According to CIA sources familiar with Petitioner's torture, Petitioner was not

waterboarded on merely one single occasion. Rather, he was waterboarded repeatedly,




101 Ross, supra note 9; see also Ex-CIA Agent: Waterboarding 'Saved Lives', CNNPolitics.com,
Dec. 11, 2007.       http://www.cnn.coml2007/POLITICSI121l1lagent.tapes/#cnnSTCTexl; J.J.
Green, Former CIA Officer: Waterboarding is Wrong, but it Worked, WTOPnews.com, Mar. 20,
2008, http://www.wtop.comnsid=1368866&nid=251; Lauer Stirs Scandal Over How Water
Boarding      Saved       Lives,     Media    Research     Center,    Dec.     12,     2007.
http://www.mediaresearch.org/cyberalertsl2007/cyb20071212.asp#1;        Ray      McGovern,
Destruction o/CIA Tapes Can't Hide Barbaric U.S. Torture Methods, AlterNet, Dec. 13,2007.
http://www.atternet.org/storyn0490/; Tanya Nolan, Former CIA Agent Reveals Use of
'Waterboarding'      in     Interrogations.  The    World    Today,     Dec.    12,    2007.
http://www.abc.net.aulworldtoday/contentJ2007/s2116703.htrn.



103Unclassified Verbatim Transcript of Combatant Status Review Tribunal Hearing for ISN
10016, Mar. 27,2007. http://www.defenselink.milinewsltranscript_ISNlOO16.pdf.




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       75.     As a result of the torture that Petitioner sustained at the hands of the CIA~

Petitioner has experienced relapses of symptoms from his 1992 head injury, including complete

memory loss and the inability to speak, read, or write. lOS Since his transfer to Guantanamo in

2006, Petitioner told his counsel he has suffered more than 116 seizures.

       G.      THE GOVERNMENT DID NOT GAIN ANY INTELLIGENCE BY
               TORTURING PETITIONER.

       76.     Retired Agent _           contradicts the contention by the CIA and Respondent

officials that Petitioner was a highly placed al Qaeda figure. _            and others at the FBI



_         is quoted as saying:



       77.     Although the CIA and the Bush Administration have publicly claimed that

Petitioner was instrumental in identitying, locating, and capturing Khalid Sheikh Mohammed,

what actually occurred is that an infonnant walked in off the streets in Bagdad and provided the

infonnation that resulted in KSM's arrest:

               The infonnant is now living in America, somewhere in America,
               with $25 million in the bank, and benefits, such as cradle-to-grave
               insurance and private school tuition for his children, and his
               relatives, and their children. He, and his extended family, will be
               under protection for the rest of their lives. 'I know it seems like a
               lot of money,' said a CIA official who worked the case. 'But in
               tenos of countless millions committed to finding a few people ­
               with KSM high on the list - the math works. This guy got him for
               us. He's a hero. You want to replicate him a hundred times.' 107



lOS Unclassified Verbatim Transcript of Combatant Status Review Tribunal   Hearing for ISN
10016, Mar. 27, 2007, http://www.defenselink.miVnews/transcript_ISNI0016.pdf.
106 Eggen and Pincus, supra note 6.

107 Suskind, supra note 4.


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         78.     Retired Agent _            has reported that



                                      According to



                     08   Subsequently, _             opinions came to be shared by the CIA's top

officials. 109

         79.     Under the influence of torture. Petitioner could only provide false information,

and so he told his interrogators anything he could conceive: for example. that shopping malls,

apartment complexes, banks, nuclear plants, water systems, the Statute of Liberty and the

Brooklyn Bridge were all targets for attack. none of which occurred. 110

         80.     As Petitioner conflrrned during his CSRT hearing. he said anything to make his

torture stop. Although Petitioner's words are redacted, the President then responds: "So I

understand that during this treatment [torture], you said things to make them stop and then those

statements were actually untrue, is that correct?" and Petitioner's answer to the question was:

"Yes.,,111


         81.     According to Senator Jay Rockefeller:

                 As Chairman of the Senate Intelligence Committee, I have heard nothing
                 to suggest that infonnation obtained from enhanced interrogation
                 techniques has prevented an imminent terrorist attack. And I have heard
                 nothing to suggest that information obtained from these techniques could


108Id

109 Paul McLeary, The Forgot/en Story ofAbu Zubaydah, Columbia Journalism Review, Sept. 7,
2006. http://www.cjr.org/politics/thejorgotten_story_oCabu_zub.php.
110 Suskind, supra note 4.


IIIUnclassified Verbatim Transcript of Combatant Status Review Tribunal Hearing for ISN
10016, Mar. 27, 2007. http://www.defenselink.millnews/transcript_ISNl0016.pdf


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               not have been obtained through traditional interrogation methods used by
               military and law enforcement interrogators. On the other hand, I do know
               that coercive interrogations can lead detainees to provide false information
               in order to make the interrogation stop. 112


       82.     The likelihood of eliciting false statements through torture is acknowledged by

the CIA: according to Kirikaou, the reason why waterboarding was not used on more prisoners

was "[b]ecause we didn't want these false confessions. We didn't want wild goose chases.',1l3

Furthermore, as Air Force Reserve colonel and expert in human-intelligence operations Steve

Kleinman explains. the SERE methods, which find origin in Communist interrogation

techniques, were never designed to get good information. Their goal, says Kleinman, was to

generate propaganda by getting beaten-down American hostages to make statements that were

against U.S. interests and used for propaganda purposes.Il 4 In addition to the obvious legal and

moral problems associated with the use of torture, the likelihood of obtaining no real intelligence

is one of the main reasons why agencies like the FBI "don't do that,',I1S and why the CITF



112 Mayer, supra note 28, at 330.



113 Ross, supra note 9.

114 Eban, supra note 15; see a/so The origins ofaggressive interrogation techniques: Part I ofthe
Committee's inquiry into the treatment of detainees in Us. custody, at Tab 25 (February 10,
2005, Memorandum from LTG Wagner, Deputy Commander, JFCOM for Commander IPRA,
Subject: JPRA Mission Guidance) (stating: "JRPA [Joint Personnel Recovery Agency] is
primarily a school house, not an intelligence gathering activity. It focuses on training our own
forces in evasion, survival. resistance, and escape . . . The expertise of JPRA lies in training
personnel how to respond and resist interrogations-not in how to conduct interrogations ... To
the extent that request for JRP A support might pull that Agency outside the scope of its
[defensive] training mission and into actual conduct of offensive operations. such requests were
viewed as inappropriate.").

lIS OIG Report, supra note 46 (describing the decision made by FBI Counterterrorism Assistant
Director Pasquale D'Amuro and FBI Director Mueller that FBI agents should be inunediately
removed from any involvement in the use of such tactics, a decision which was spurred by the
CIA's use of aggressive interrogation against Petitioner).

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(Criminal Investigation Task Force) "object[ed] to these aggressive interrogation techniques.,,116

Unlike rapport building approaches, which are proven to yield positive results, fear and pain

based approaches are proven to be ineffective in producing reliable intelligence. 1l7 Moreover,

according to the FBI,
                            IS


         83.          Petitioner's brutal treatment and prolonged, unlawful interrogation is all the more

shocking in light of the absence of evidence against him and the lack of information he could

provide.

         H.       THE   GOVERNMENT    HAS                       PURPOSEFULLY             DESTROYED
                  EXCULPATORY EVIDENCE

         84.          In order to avoid the recognition that this brutality was exacted upon someone

who was neither associated with al Qaeda nor otherwise hostile to the United States, the

Govenunent has deliberately suppressed and actively destroyed information that is exculpatory

to Petitioner. I 19



116 The origins ofaggressive interrogation techniques: Part I ofthe Committee's inquiry into the
treatment of detainees in Us. custody, at Tab 18 (July 14, 2004 Memorandum from Alberto
Mora for Inspector General, Department of the Navy, Subject: Statement for the Record of
Alberto Mora for the            of the                        see also          note 36.




118 OIG Report, supra note 46.

119 See, e.g., Emma Schwartz, Justice Dept. Inspector General Claims CIA
Investigation: Report says the agency blocked access to
            U.S. News & World               20, 2008.




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       85.      On information and belief, all of Petitioner's interrogations and torture were

videotaped. 120 Throughout Petitioner's detention, video cameras were set up to record Petitioner

twenty-four hours a day, including when he was interrogated and tortured. 121

       86.      By the Government's own admission, several hundred hours of videotapes of

Petitioner that included his interrogation and torture were destroyed in November 2005, after

Preservation Orders had been entered by trial judges for the District Court, including Judge

Roberts and Judge Kennedy.122      A copy of Judge Roberts' Order was served on then-CIA

Director, Porter Goss, FBI Director Robert Mueller, and the General Counsel for the Department

of Defense in July 200S, well before the videotapes were destroyed.

       87.       The destruction of these tapes has also brought attention to tlie CIA's earlier

failure to disclose the tapes' existence, despite detailed requests for information regarding

Petitioner by the 9/11 Commission l23 and targeted Freedom of Information Act requests by the




120 Kevin Whitelaw, Abu Zubaydah's Health Prompted CIA Videos: Suspect had been shot
mUltiple times during operation to capture him, U.S. News & World Report, Dec. 12, 2007;
Denbeaux, Captured on Tape: Interrogation and Videotaping ofDetainees in Guantanamo Bay,
Seton              Hall             University,           Feb.        14,          2008.
http://papers.ssm.com/soI3/papers.cfm?abstract_id==1 093330.

121 Shane and Mazetti, supra note 14; see also Denbeaux, supra note 120.

122 See, e.g., CIA Destroyed Interrogation Videotapes Despite Court Orders, FOX News, Dec.
12, 2007. http://www.foxnews.com/story/0.2933.316516.00.html.

123 See Joby Warrick and Dan Eggen, CIA Tapes Were Kept from 911 J Panel, Report Says,
Wash. Post, Dec. 23, 2007, at All.


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American Civil Liberties Union. 124 As a result, the destruction of the tapes is now a matter of

Congressional inquiry and a criminal investigation. 125

       88.         The Government's actions have compromised Petitioner's ability to defend

himself and compel the intervention of this Court to restore accountability.

                                                VIII.
                                  CAUSES OF ACfION
                               FIRST CLAIM FOR RELIEF
                          (SUSPENSION CLAUSE, ARTICLE I, §9
                     OF THE CONSTITUTION OF THE UNITED STATES
                     AND HABEAS CORPUS STATUTE, 28 U.S.C. § 2241­
                         RIGHT TO WRIT OF HABEAS CORPUS)

       89.         Petitioner incorporates paragraphs _ to _ by reference.

       90.         By the actions described above, Respondent has detained and continues to detain

Petitioner in Guantanamo Bay absent any sufficient lawful legal or factual basis.

       91.         Such failure violates Petitioner's fundamental rights under the Suspension

Clause of the U.S. Constitution, Art. I, § 9, as effectuated by the habeas corpus statute, 28 U.S.C.

§ 2241, et. seq.




124 See ACLU,      NYCLU Ask Court to Hold CIA in Contempt, Dec.                        12, 2007.
http://www.nyclu.org/nodeI1534. Furthermore, the FBI has produced records
Freedom of Information Act lawsuit     the American Civil Liberties Union




125 See Pamela Hess, CIA Will Release Videotape Documents, Wash. Post, Dec. 20,2007.



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                           SECOND CLAIM FOR RELIEF
                        (DUE PROCESS - FIFTH AMENDMENT
                    TO THE CONSTITION OF THE UNITED STATES
                      UNLA WFUL DEPRIVATION OF LIBERTY)

          92.   Petitioner incorporates paragraphs 1-91 by reference.

          93.   By the actions described above, Respondent, acting under color of law, has

violated and continues to violate Petitioner's right to be free from arbitrary, prolonged and

indefinite detention protected by the Due Process Clause of the Fifth Amendment to the

Constitution of the United States.

                            THIRD CLAIM FOR RELIEF
                        (DUE PROCESS - FIFTH AMENDMENT
                   TO THE CONSTITUTION OF THE UNITED STATES
                    UNLA WFUL CONDITIONS OF CONFINEMENT)

          94.   Petitioner incorporates paragraphs 1-93 by reference

          95.   By the actions described above, Respondent, acting under color of law, has

violated and continues to violate the right of the detained Petitioner to be free from unduly harsh

conditions of confinement or conditions of confinement that would shock the conscience, in

violation of the Due Process Clause of the Fifth Amendment to the Constitution of the United

States.

                             FOURTH CLAIM FOR RELIEF
                        (DUE PROCESS - INTERNATIONAL LAW
                        UNLA WFUL DEPRIVATION OF LIBERTY)

          96.   Petitioner incorporates paragraphs 1-95 by reference.

          97.   By the actions described above, Respondent, acting under color of law, has

violated and continues to violate customary international law, Arts. 9 and 14 of the International

Covenant on Civil and Political Rights, and Arts. XXV, XXVI, XXVIII of the American

Declaration on the Rights and Duties of Man.



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                             FIFTH CLAIM FOR RELIEF
                       (DUE PROCESS - INTERNATIONAL LAW
                     UNLAWFUL CONDITIONS OF CONFINEMENT)

       98.      Petitioner incorporates paragraphs 1-97 by reference.

       99.      By the actions described above, Respondent, acting under color of law, has

violated and continues to violate the right of the detained Petitioner to be free from arbitrary,

prolonged, and indefinite detention, in violation of customary international law, Arts. 9 and 14 of

the International Covenant on Civil and Political Rights, and Arts. XXV, XXVI, XXVIll of the

American Declaration on the Rights and Duties of Man.

                              SIXTH CLAIM FOR RELIEF
                        (DUE PROCESS - FAILURE TO COMPLY
                       WITH U.S. MILITARY REGULATIONS AND
                       INTERNATIONAL HUMANITARIAN LAW)

        100.    Petitioner incorporates paragraphs 1-99 by reference.

        to 1.   By the actions described above, Respondent, acting under color of law, having

violated and continues to violate the rights accorded to persons seized by the United States

Military in times of armed conflict, as established by, inter alia, the regulations of the United

States Military, Articles 4 and 5 of Geneva Convention III, Geneva Convention IV, and

customary international law.

                                SEVENTH CLAIM FOR RELIEF
                                  (WAR POWERS CLAUSE)

        102.    Petitioner incorporates paragraphs 1~ 101 by reference.

        to3.    By the actions described above, Respondent. acting under color of law, has

exceeded the constitutional authority of the Executive and has violated and continues to the War

Powers Clause by ordering the prolonged and indefinite detention of the detained Petitioner

without Congressional authorization.



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                       EIGHTH CLAIM FOR RELIEF
      (ARBITRARY AND UNLAWFUL DETENTION - VIOLATION OF THE APA)

           104.    Petitioner incorporates paragraphs 1-103 by reference.

           105.    By detaining Petitioner for the duration and in the manner described herein,

 Respondent has arbitrarily, unlawfully. and unconstitutionally detained the Petitioner, in

 violation of the Administrative Procedures Act,S U.S.C. § 706(2).

                                                   V.
                                       PRAYER FOR RELIEF

 WHEREFORE, Petitioner prays for relief as follows:

 1.        Order Petitioner released from Respondent's unlawful custody unless Respondent can

 demonstrate the legality of his continued confinement by a lawful process;

 2.        Order Respondent to allow counsel to meet and confer with the detained Petitioner, in

 private and unmonitored attomey-client conversations;

 3.        Order Respondent to cease all interrogations of the detained Petitioner, direct or indirect,

 while this litigation is pending;

 4.        Order and declare that the prolonged, indefinite, and restrictive detention of Petitioner is

 arbitrary and unlawful, a deprivation of liberty without due process in violation of the Fifth

 Amendment to the United States Constitution, and in violation of the law of nations and treaties

 ofthe United States;

 5.        Order and declare that Petitioner is being held in violation of the Fifth Amendment to the

. United States Constitution;

 6.        Order and declare that Petitioner was tortured when he was waterboarded in violation of

 the laws of the United States and in violation of the law of nations and treaties of the United

 States;



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7.     Order and declare that the detained Petitioner is being held in violation of customary

international law, the International Covenant on Civil and Political Rights, and the American

Declaration on the Rights and Duties of Man;

8.      Order and declare that the detained Petitioner is being held in violation of the regulations

of the United States Military, the Geneva Conventions, and international humanitarian law;

9.      Order and declare that Petitioner's counsel, who have the highest level of security,

clearance shall be afforded an opportunity to review any and all evidence in the possession of,

inter alia, the CIA, FBI, the Department of Defense, NSA, Department of State, White House

and any other governmental entity or agency that relates to Petitioner, his detention, treatment,

and confinement.

10.     Order that counsel be allowed to have Petitioner examined by independent medical

specialists to determine his present physical and mental state so as to allow counsel to determine

whether he can assist in his own defense.

11.     To the extent Respondent contests any material factual allegations in this Petition,

schedule an evidentiary hearing, at which Petitioner may adduce proof in support of his

allegations;

12.     Order and declare that every time a factual assertion is made in a pleading, motion,

opposition, reply, or any other paper filed with the court, that the Government be required to

have an attorney associated with the appropriate government entity-including but not limited to

the Department of Defense, Central Intelligence Agency, Federal Bureau of investigation,

National Security Administration, Department of State, and/or White House or any other--be a

signatory to the filing in order to assure accountability to the court.




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13.     Grant such other relief as the Court may deem necessary and appropriate to protect

Petitioner's rights under the United States Constitution, federal statutory law, and international

law.

Dated: August 25, 2008


                                             Respectfully submitted,




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                                             Counsel for Petitioner




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                                     CERTIFICATE OF SERVICE

           I hereby certify that the foregoing was served on the Court Security Officer for clearance

and filing this 22nd day of August 2008. My understanding is that the Court Security Officer will

serve the government. Once Petitioner's counsel has been notified that the document has been cleared

and filed, copies will be served on the following via first class mail:

Judry L. Subar
Terry M. Henry
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                                          George Bre




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                         EXHIBIT 1




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